
Professional Health Imaging, P.C., as Assignee of Athena Tsironis, Appellant,
againstState Farm Mutual Automobile Ins. Co., Respondent.




Gary Tsirelman, P.C. (Irena Golodkeyer, Esq.), for appellant.
Rivkin Radler, LLP (Stuart M. Bodoff, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Harriet L. Thompson, J.), entered September 5, 2014. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross motion for summary judgment or, in the alternative, to strike defendant's answer and to compel defendant to respond to discovery demands.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath. Plaintiff cross-moved for summary judgment or, in the alternative, to strike defendant's answer and to compel defendant to respond to discovery demands. Plaintiff appeals from an order of the Civil Court granting defendant's motion and denying plaintiff's cross motion.
For the reasons stated in Professional Health Imaging, P.C. v State Farm Mut. Auto. Ins. Co. (51 Misc 3d 143[A], 2016 NY Slip Op 50698[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 03, 2017










